              Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 1 of 23 PageID #: 8

 Report: CZR0026                                       21ST JUDICIAL CIRCUIT                      Date:     12-Apr-2012
                                                         ST LOUIS COUNTY                          Time:    10:28:04AM
                                                   CIRCUIT COURT DOCKET SHEET                     Page:    1


 12SL-CC00991                MICHAEL R NACK V REED ELSEVIER INC                             Security Level: 1 Public
 Case Type:              CC Injunction                          Case Filing Date:   16-Mar-2012
 Status:                 Pet Filed in Circuit Ct
 Disposition:                                                   Disposition Date:

                                                                                      Release/Status Reason
                                                                                      Change Date
 Judge                              MARK D SEIGEL (21076)
 Plaintiff                          MICHAEL R NACK (@468586)
    Attorney for Plaintiff             MAX GEORGE MARGULIS(24325)
 Defendant                          REED ELSEVIER INC (AREDELSEV)

 Filing Date       Description

16-Mar-2012        Judge Assigned                                                                           SHINELTM
                   DIV 3
                   Pet Filed in Circuit Ct                                                                  SHINELTM
                   Confid Filing Info Sheet Filed                                                          CHANEYTL
27-Mar-2012        Summons Issued-Circuit                                                                  CHANEYTL
                   Document ID: 12-SMCC-3835, for REED ELSEVIER INC.
                   HAND DELIVERED TO ST LOUIS COUNTY SHERIFF
                   Service/Attempt Date: 29-Mar-2012
28-Mar-2012        Motion Filed                                                                            CODYKATM
                   FOR CLASS CERTIFICATION
                   Filed By: MICHAEL R NACK
02-Apr-2012        Summons Personally Served                                                            THOMPSME
                   Document ID - 12-SMCC-3835; Served To - REED ELSEVIER INC; Server - CT CORP; Served
                   Date - 02-APR-12; Served Time - 00:00:00; Service Type - Territory 30; Reason Description -
                   Served; Service Text - LC




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       Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 2 of 23 PageID #: 9



 STATE OF MISSOURI

 ST. LOUIS COUNTY                                                            1- N , 25'
                      IN THE CIRCUIT COURT OF THE ST. LOIII),Cf OUNTY _c)
                                   STATE OF MISSOURI CRUIT (JL
                                                                                          ERK
  MICHAEL R. NACK, individually and on behalf of all
  others similarly-situated,                                         Cause No. 12SL-CC00991

             Plaintiff,                                             Division 3

  v.

  REED ELSEVIER, INC.,

             Defendant.

                              MOTION FOR CLASS CERTIFICATION

         COMES NOW Plaintiff, individually and on behalf of all others similarly situated, by

and through its undersigned counsel, and for its Motion for Class Certification, states

         1.        This cause should be certified as a class because all of the necessary elements of

Rule 52.08 are met.

        2.         Plaintiff requests that the Court certify a class, so the common claims of the Class

members, based on a uniform legal theory and factual allegations applicable to all Class

members, can be resolved on a class-wide basis.

        3.         Plaintiff proposes the following Class definition:

                   All persons who on or after four years prior to the filing of this action, were
                   sent telephone facsimile messages of material advertising pharmaceutical
                   products by Or on behalf of Defendant.

        4.         Under Rule 52.08(a)(1), to bring a Class action, the Class must be "so numerous

that joinder of all members is impracticable." Rule 52.08(a)(1). Here, there are at least

thousands of persons who fall within the Class definition. Thus, the numerosity requirement of

Rule 52.08(a)(1) is satisfied.
                                                     1
    Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 3 of 23 PageID #: 10



        Respectfully submitted,

                       c2w,i

       Max G. Margulis, #2 25
       MARGULIS LAW GROUP
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       Chesterfield, MO 63017
       P: (636) 536-7022
       F: (636) 536-6652
       E-Mail: MaxMargulis@MargulisLaw.com
       Attorney for Plaintiff

       Of Counsel
       Brian J. Wanca
       ANDERSON + WANCA
       3701 Algonquin Road, Suite 760
       Rolling Meadows, IL 60008
       P: (847) 368-1500

       Phillip A. Bock #6224502
       Bock & Hatch, LLC
       134 North LaSalle
       Chicago, IL 60602
       P: (312) 658-5500
       F: (312) 658-5555
       Email: phil@bockhatchllc.com



                                  CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served on the Defendant's Registered Agent,
CT Corporation System, 120 South Central Ave, Clayton, MO 63105, Fax No. 248-552-1762 on
this 28 th day of March, 2012.


                                                  SZ 4),-.   /14)




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                   Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 4 of 23 PageID #: 11

                   IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

   Judge or Division:                                                  Case Number: 12SL-CC00991
   MARK D SEIGEL
   Plaintiff/Petitioner:                                               Plaintiff's/Petitioner's Attorney/Address
   MICHAEL R NACK                                                      MAX GEORGE MARGULIS
                                                                       28 OLD BELLE MONTE ROAD
                                                                 vs.   CHESTERFIELD, MO 63017                                                —
                                                                                                                                             . . ._ -.,
   Defendant/Respondent:                                               Court Address:                                                         -- -
   REED ELSEVIER INC                                                   ST LOUIS COUNTY COURT BUILDING                                         19
   Nature of Suit:                                                     7900 CARONDELET AVE                                                    r'D
   CC Injunction                                                       CLAYTON, MO 63105
                                                                                                                                             (Date File Stamp)

                                                                  Summons in Civil Case
          The State of Missouri to: REED ELSEVIER INC
                                     Alias:
                                                             SERVE CT COPORATION SYSTEM
                                                             120 SOUTH CENTRAL AVE
                                                             CLAYTON MO 63105

            COURT SEALOF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                          which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                          above address all within 30 days after receiving this summons, exclusive of the da of service. If you fail to
                                          file your pleading, judgment by default may be taken against y4i for th      'et*    anded in the petition.
                                           27-MAR-2012                                                                                -Noy


          ST. LOUIS COUNTY
                                            Date

                                          Further Information:
                                          TLC
                                                                                                    (74-             Clerk



                                                                    Sheriff's or Server's Return
       Note to serving officer: Summons should be returned to the court within thirty days after the date ofARR        0 2 70 7
       I certify that I have served the above summons by: ich milt) certify that on this date                                ,
       El delivering a copy of the summons and a copy 4 t4eStli I„,,Wit III•11.- *MO              S. Central Ave., I served
       0 leaving a copy of the summons and a copy of th@art8119tIffitiletAililic0/1 ”. .1:2. ),11tt             .       nclent with
                                                            ,4....,4L:Apyirs8nAt4,1=lejeftin '    ,)139 deritHendoisrth   of 15 years.
       El (for service on a corporation) delivering a copy hf''llYgifihg'sins and -rcOny o t e ton tot"
                                                                  the rogistored arlen o               e endant, by leaving
                                                                                                                                                              (title).
                                                                 copy with 8.
       [11 other
                                                                                                                                  1
     Served at                                                   Jim Buckles                                                    .::....                   (address)
                                                                 Shoff, St. LOUIS Gou my                    Depu y    Sheil
     in                                            (County/City ot St. Louis), MO, on                               (date) at                                   (time).

                       Printed Name of Sheriff or Server                                                 Signature of Sheriff or Server
                                      Must be sworn before a notary public if not served by an authorized officer:
                                      Subscribed and sworn to before me on                                               (date).
              (Seal)
                                      My commission expires:
                                                                        Date                                       Notary Public
   Sheriff's Fees, if applicable
   Summons
   Non Est
   Sheriff's Deputy Salary
   Supplemental Surcharge $        10.00
   Mileage                                        (      miles @ $ .         per mile)
   Total
   A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
    suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document Id # I2-SMCC-3835                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 — 54.05,
                                                                                                          54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                    Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 5 of 23 PageID #: 12

                  IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

  Judge or Division:                                                   Case Number: 12SL-CC00991
  MARK D SEIGEL
  Plaintiff/Petitioner:                                                Plaintiff's/Petitioner's Attorney/Address
  MICHAEL R NACK                                                       MAX GEORGE MARGULIS
                                                                       28 OLD BELLE MONTE ROAD
                                                                 vs.   CHESTERFIELD, MO 63017
  Defendant/Respondent:                                                Court Address:
  REED ELSEVIER INC                                                    ST LOUIS COUNTY COURT BUILDING
  Nature of Suit:                                                      7900 CARONDELET AVE
  CC Inj
      unction                                                          CLAYTON, MO 63105
                                                                                                                                         (Date File Stamp)

                                                                 Summons in Civil Case
          The State of Missouri to: REED ELSEVIER INC
                                     Alias:
                                                             SERVE CT COPORATION SYSTEM
                                                             120 SOUTH CENTRAL AVE
                                                             CLAYTON MO 63105

            COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                          which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                          above address all within 30 days after receiving this summons, exclusive of the da of service. If you fail to
                                          file your pleading, judgment by default may be taken against       for th    'ef     anded in the petition.
                                            27-MAR-2012                                                               •
                                             Date                                                                    Clerk
           ST. LOUIS COUNTY               Further Information:
                                          TLC
                                                                Sheriff's or Server's Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
      0 delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      El  leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                   a person of the Defendant's/Respondent's family over the age of 15 years.
      0 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                      (name)                                                         (title).
      0 other
     Served at                                                                                                                                  (address)
     in                                             (County/City of St. Louis), MO, on                              (date) at                          (time).

                        Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                       Must be sworn before a notary public if not served by an authorized officer:
                                       Subscribed and sworn to before me on                                                  (date).
               (Seal)
                                       My commission expires:
                                                                               Date                                          Notary Public
   Sheriff's Fees, if applicable
   Summons
   Non Est
   Sheriff's Deputy Salary
   Supplemental Surcharge $          10.00
   Mileage                                        (      miles @ $ .        per mile)
   Total
   A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
   suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC)For Court Use Only: Document Id # 12-SMCC-3835                          1 of 1             Civil Procedure Form No. 1, Rules 54.01 — 54.05,
                                                                                                          54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
       Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 6 of 23 PageID #: 13




 STATE OF MISSOURI

 ST. LOUIS COUNTY                 )

                         IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
                                       STATE OF MISSOURI

  MICHAEL R. NACK, individually and on behalf of all
  others similarly-situated,                                      Cause No.

            Plaintiff,                                            Division

  V.

  REED ELSEVIER, INC.,                                            SHERIFF
       Serve: CT Corporation System
               120 South Central Ave.                                                                -


               Clayton, MO 63105
               St. Louis County

         Defendant.

                                       CLASS ACTION PETITION

        Plaintiff, MICHAEL R. NACK ("Plaintiff '), brings this action on behalf of itself and all

others similarly situated, through its attorneys, and except as to those allegations pertaining to

Plaintiff or its attorneys, which allegations are based upon personal knowledge, alleges the

following upon information and belief against Defendant, REED ELSEVIER, INC.,

("Defendant"):

                                      PRELIMINARY STATEMENT

       1.         This case challenges Defendant's practice of sending unsolicited facsimiles.

       2.         The federal Telephone Consumer Protection Act, 47 USC § 227 ("TCPA"),

prohibits a person or entity from sending or having an agent send fax advertisements without the




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      Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 7 of 23 PageID #: 14




 recipient's prior express invitation or permission ("junk faxes" or "unsolicited faxes"). The TCPA

 provides a private right of action and provides statutory damages of $500 per violation.

        3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient's valuable time that

would have been spent on something else. A junk fax interrupts the recipient's privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients' fax machines, and require

additional labor to attempt to discern the source and purpose of the unsolicited message.

        4.     On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendant under the TCPA, the common law of conversion,

and the consumer protection statutes forbidding and compensating unfair business practices.

        5.     Plaintiff seeks an award of statutory damages for each violation of the TCPA and a

declaration that defendant's conduct violated the TCPA.

                                JURISDICTION AND PARTIES

       6.      This court has personal jurisdiction over Defendant because Defendant transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

       7.      Federal jurisdiction does not exist because no federal question or claim is asserted

and Plaintiff s individual claims are worth less than $75,000.00, inclusive of all forms of damages

and fees. Plaintiff expressly disclaims any individual recovery in excess of $74,999.00, inclusive

of all forms of damages and fees.




                                                2
       Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 8 of 23 PageID #: 15




         8.      Plaintiff MICHAEL R. NACK, is an individual located in St. Louis County,
 Missouri.

         9.      Defendant, REED ELSEVIER, INC., is a corporation doing business in Missouri

 and doing business as LexisNexis.

                                         RELEVANT FACTS

         10.    On December 4, 2008 Defendant sent 1 unsolicited facsimile to Plaintiff in St.

 Louis County, Missouri. A true and correct copy of the facsimile is attached as Exhibit 1.

         11.    Defendant approved, authorized and participated in the scheme to broadcast faxes

by (a) directing a list to be purchased or assembled; (b) directing and supervising employees or

third parties to send the faxes; (c) creating and approving the form of fax to be sent; and (d)

determining the number and frequency of the facsimile transmissions.

        12.     Defendant created or made Exhibit 1, which Defendant distributed to Plaintiff and

the other members of the class.

        13.     Exhibit 1 is a part of Defendant's work or operations to market Defendant's goods

or services which was performed by Defendant and/or on behalf of Defendant.
        14.     Exhibit 1 constitutes material furnished in connection with defendant's work or

operations.

        15.    Exhibit 1 hereto is material advertising the commercial availability of any property,
goods, or services.

        16.    The transmission of Exhibit 1 to Plaintiff did not contain a notice that informs the

recipient of the ability and means to avoid future unsolicited facsimiles.




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       Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 9 of 23 PageID #: 16




         17.     The transmission of Exhibit 1 to Plaintiff did not contain a notice that states that the

 recipient may make a request to the sender of the facsimiles not to send any future facsimiles to a

 telephone facsimile machine or machines and that failure to comply, within 30 days, with such a

 request meeting the requirements under paragraph 47 C.F.R. 64.1200(a)(3)(v) of this section is

 unlawful.

         18.    The transmission of Exhibit 1 to Plaintiff did not contain at the top or bottom of the

 first page, the correct date and time it was sent and an identification of the entity sending the

message and the telephone number of the sending machine or of such entity.

         19.    The transmission of Exhibit 1 to Plaintiff did not contain a notice that complied

with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47 C.F.R. 64.1200(a)(3).

        20.      The transmission of Exhibit 1 to Plaintiff was required to contain a notice that

complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47 C.F.R. 64.1200(a)(3).

        21.     Plaintiff had not invited or given permission to Defendant to send facsimiles.

        22.     Plaintiff did not have an established business relationship with Defendant.

        23.     On information and belief, Defendant sent multiple unsolicited facsimiles to

Plaintiff and members of the proposed classes throughout the time period covered by the class

definitions.

       24.     On information and belief, Defendant faxed the same and similar facsimiles to the

members of the proposed classes in Missouri and throughout the United States without first

obtaining the recipients' prior express permission or invitation.




                                                  4
      Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 10 of 23 PageID #: 17




         25.      There is no reasonable means for Plaintiff (or any other class member) to avoid

 receiving unlawful faxes.         Fax machines are left on and ready to receive the urgent

 communications their owners desire to receive.

         26.     Defendant knew or should have known that: (a) Exhibit 1 was an advertisement;

 (b) Defendant did not obtain prior permission or invitation to send Exhibit 1; (c) Defendant did not

 have an established business relationship with Plaintiff or the other members of the class and (d)

 Defendant did not display a proper opt out notice on Exhibit 1.

         27.     Defendant engaged in the transmission of Exhibit 1 believing such transmissions

were legal based on Defendant's own understanding of the law and/or based on the representations

of others on which Defendant reasonably relied.

         28.     Defendant did not intend to send transmission Exhibit 1 to any person where such

transmission was not authorized by law or by the recipient, and to the extent that any transmission

of Exhibit 1 were sent to any person and such transmission was not authorized by law or by the

recipient, such transmission was made based on either Defendant's own understanding of the law

and/or based on the representations of others on which Defendant reasonably relied.

        29.      Defendant failed to correctly determine the legal restrictions on the use of facsimile

transmissions and the application of those restrictions to the transmission of Exhibit 1 both to

others in general, and specifically to Plaintiff.

        30.      The transmission of Exhibit 1 to Plaintiff caused destruction of Plaintiffs property.

        31.     The transmission of Exhibit 1 to Plaintiff interfered with Plaintiffs exclusive use of

Plaintiff s property.




                                                    5
    Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 11 of 23 PageID #: 18




        32.    The transmission of Exhibit 1 to Plaintiff interfered with Plaintiffs business and/or

personal communications.

                                COUNT I
              TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. 227

       33.     Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       34.     Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227, on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of this action, (2)
               were sent telephone facsimile messages of material advertising the
               commercial availability of any property, goods, or services by or on behalf of
               Defendant (3) with respect to whom Defendant cannot provide evidence of
               prior express peimission or invitation for the sending of such faxes, (4) with
               whom Defendant does not have an established business relationship and (5)
               which did not display a proper opt out notice.

       35.     A class action is warranted because:

               a.     On information and belief, the class includes more than forty persons and is

               so numerous that joinder of all members is impracticable.

              b.      There are questions of fact or law common to the class predominating over

              questions affecting only individual class members, including without limitation:

                      i.      Whether Defendant engaged in a pattern of sending unsolicited fax

                      advertisements;

                      ii.     Whether Exhibit 1 contains material advertising the commercial

                      availability of any property, goods or services;




                                                 6
     Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 12 of 23 PageID #: 19




                        iii.     The manner and method Defendant used to compile or obtain the list

                        of fax numbers to which they sent Exhibit 1 and other unsolicited faxed

                        advertisements;

                        iv.      Whether Defendant faxed advertisements without first obtaining the

                       recipients' prior express permission or invitation;

                       v.        Whether Defendant violated the provisions of 47 USC § 227;

                       vi.       Whether Plaintiff and the other class members are entitled to

                       statutory damages;

                       vii.      Whether Exhibit 1 displayed each required element of the opt out

                       notice required by 64 C.F.R. 1200;

                       viii.     Whether Exhibit 1 displayed each required element of the date, time,

                       and identification required by 47 USC § 227;

                       ix.       Whether Defendant's acts were "knowing" as that term is used in 47

                       USC § 227;

                       x.        Whether Defendant should be enjoined from faxing advertisements

                       in the future; and

                       xi.     Whether the Court should award trebled damages.

       36.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff s counsel are experienced in handling class actions and claims involving unsolicited

advertising faxes. Neither Plaintiff nor Plaintiff s counsel has any interests adverse or in conflict

with the absent class members.




                                                  7
      Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 13 of 23 PageID #: 20




         37.     A class action is the superior method for adjudicating this controversy fairly and

 efficiently. The interest of each individual class member in controlling the prosecution of separate

 claims is small and individual actions are not economically feasible.

        38.     The TCPA prohibits the "use of any telephone facsimile machine, computer or

 other device to send an unsolicited advertisement to a telephone facsimile machine...." 47 U.S.C.

 § 227(b)(l).

        39.     The TCPA defines "unsolicited advertisement," as "any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's express invitation or permission." 47 U.S.C. § 227(a)(4).

        40.     The TCPA provides:

                Private right of action. A person may, if otherwise permitted by the laws or
                rules of court of a state, bring in an appropriate court of that state:

                (A)     An action based on a violation of this subsection or the regulations
                prescribed under this subsection to enjoin such violation,

                (B)     An action to recover for actual monetary loss from such a violation,
                or to receive $500 in damages for each such violation, whichever is greater,

                Or

                (C)    Both such actions.

       41.      The Court, in its discretion, may treble the statutory damages if the violation was

knowing. 47 U.S.C. § 227.

       42.      The TCPA is a strict liability statute and the Defendant is liable to Plaintiff and the

other class members even if its actions were only negligent.

       43.      Defendant's actions caused damages to Plaintiff and the other class members.

Receiving Defendant's junk faxes caused the recipients to lose paper and toner consumed in the



                                                  8
      Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 14 of 23 PageID #: 21




 printing of Defendant's faxes. Moreover, Defendant's actions interfered with Plaintiffs use of its

 fax machine and telephone line connected to that fax machine. Defendant's faxes cost Plaintiff

 time, as Plaintiff and its employees wasted their time receiving, reviewing and routing Defendant's

 unlawful faxes. That time otherwise would have been spent on Plaintiff's business activities.

 Finally, Defendant's faxes unlawfully interrupted Plaintiff s and the other class members' privacy

 interests in being left alone.

         44.     Defendant did not intend to cause damage to Plaintiff and the other class members,

did not intend to violate their privacy, and did not intend to interfere with recipients' fax machines

or consume the recipients' valuable time with Defendant's advertisements.

         45.     If the court finds that Defendant knowingly violated this subsection or the

regulations prescribed under this subsection, the court may, in its discretion, increase the amount

of the award to an amount equal to not more than three times the amount available under

subparagraph (B) of this paragraph. 47 U.S.C. § 227(b)(3).

        46.      Defendant knew or should have known that: (A) Plaintiff and the other class

members had not given express permission or invitation for Defendant or anyone else to fax

advertisements about Defendant's goods or services, (B) Defendant did not have an established

business relationship with Plaintiff and the other members of the class, (C) Exhibit 1 was an

advertisement, and (D) Exhibit 1 did not display the proper opt out notice.

        47.     Defendant violated 47 U.S.C. § 227 et seq. by transmitting Exhibit 1 hereto to

Plaintiff and the other members of the class without obtaining their prior express permission or

invitation and not displaying the proper opt out notice required by 64 C.F.R. 1200.




                                                 9
     Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 15 of 23 PageID #: 22




        48.    Defendant's actions caused damages to Plaintiff and the other class members,

because their receipt of Defendant's unsolicited fax advertisements caused them to lose paper and

toner consumed as a result. Defendant's actions prevented Plaintiff s fax machine from being used

for Plaintiff s business purposes during the time Defendant were using Plaintiff s fax machine for

Defendant's unauthorized purpose. Defendant's actions also cost Plaintiff employee time, as

Plaintiff s employees used their time receiving, routing and reviewing Defendant's unauthorized

faxes and that time otherwise would have been spent on Plaintiff s business activities. Finally, the

injury and property damage sustained by Plaintiff and the other members of the class occurred

outside of Defendant's premises. Pursuant to law, Plaintiff, and each class member, instead may

recover $500 for each violation of the TCPA.

       WHEREFORE, Plaintiff, MICHAEL R. NACK, individually and on behalf of all others

similarly situated, demands judgment in its favor and against Defendant, REED ELSEVIER, INC.,

as follows:

       A.     That the Court adjudge and decree that the present case may be properly maintained

              as a class action, appoint Plaintiff as the representative of the class, and appoint

              Plaintiff s counsel as counsel for the class;

       B.     That the Court award between $500.00 and $1,500.00 in damages for each and

              every violation of the TCPA;

       C.     That the Court enter an injunction prohibiting the Defendant from engaging in the

              statutory violations at issue in this action;

       D.     That the Court declare that Defendant's conduct violated the TCPA and that this

              action is just and proper;




                                                 10
    Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 16 of 23 PageID #: 23




       E.        That the Court award costs and such further relief as the Court may deem just and

                proper;

       F        That the Court award pre-judgment and post-judgment interest at the statutory rate

                of 9%; and

       G.       That the Court award plaintiff its attorney fees and all expenses incurred in

                preparing and prosecuting this claim.

                                              COUNT II
                                            CONVERSION

       49.      Plaintiff incorporates Paragraphs 3 and 4, and 11 — 15, 21-25, and27 — 32 as for its

paragraph 49.

       50.      In accordance with Mo. S. Ct. Rule 52.08, Plaintiff brings Count II for conversion

under the common law for the following class of persons:

                All persons who on or after five years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendant with respect
                to whom Defendant cannot provide evidence of prior express permission or
                invitation.

       51.      A class action is proper in that:

                a.        On information and belief the class is so numerous that joinder of all

                members is impracticable.

                b.        There are questions of fact or law common to the class predominating over

                all questions affecting only individual class members, including:

                          i.     Whether Defendant engaged in a pattern of sending unsolicited

                       faxes;




                                                    11
     Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 17 of 23 PageID #: 24




                         ii.    Whether Defendant sent faxes without obtaining the recipients' prior

                         express permission or invitation of the faxes;

                         iii.   The manner and method Defendant used to compile or obtain the list

                         of fax numbers to which it sent Exhibit 1 and other unsolicited faxes;

                        iv.     Whether Defendant committed the tort of conversion; and

                        v.      Whether Plaintiff and the other class members are entitled to recover

                        actual damages and other appropriate relief.

        52.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who is experienced in handling class actions and claims involving

unlawful business practices. Neither Plaintiff nor Plaintiff's counsel have any interests adverse or

in conflict with the class.

        53.     A class action is the superior method for adjudicating this controversy fairly and

efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.

        54.     By sending Plaintiff and the other class members unsolicited faxes, Defendant

improperly and unlawfully converted their fax machines, toner and paper to its own use.

Defendant also converted Plaintiff's employees' time to Defendant's own use.

        55.     Immediately prior to the sending of the unsolicited faxes, Plaintiff, and the other

class members owned an unqualified and immediate right to possession of their fax machine,

paper, toner, and employee time.




                                                  12
      Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 18 of 23 PageID #: 25




         56.    By sending the unsolicited faxes, Defendant permanently misappropriated the class

members' fax macliines, toner, paper, and employee time to Defendant's own use. Such

misappropriation was wrongful and without authorization.

         57.    Defendant knew or should have known that its misappropriation of paper, toner,

and employee time was wrongful and without authorization.

         58.    Plaintiff and the other class members were deprived of the use of the fax machines,

paper, toner, and employee time, which could no longer be used for any other purpose. Plaintiff

and each class member thereby suffered damages as a result of the sending of unsolicited faxes

from Defendant.

         59.    Each of Defendant's unsolicited faxes effectively stole Plaintiff's employees' time

because persons employed by Plaintiff were involved in receiving, routing, and reviewing

Defendant's unlawful faxes. Defendant knew or should have known employees' time is valuable

to Plaintiff.

        60.     Defendant's actions caused damages to Plaintiff and the other members of the class

because their receipt of Defendant's unsolicited faxes caused them to lose paper and toner as a

result. Defendant's actions prevented Plaintiff's fax machines from being used for Plaintiff's

business purposes during the time Defendant was using Plaintiff s fax machines for Defendant's

unlawful purpose. Defendant's actions also cost Plaintiff employee time, as Plaintiff s employees

used their time receiving, routing, and reviewing Defendant's unlawful faxes, and that time

otherwise would have been spent on Plaintiff s business activities.




                                                13
     Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 19 of 23 PageID #: 26




        WHEREFORE, Plaintiff, MICHAEL R. NACK, individually and on behalf of all others

 similarly situated, demands judgment in its favor and against Defendant, REED ELSEVIER, INIC.,

 as follows:

        A.        That the Court adjudge and decree that the present case may be properly maintained

                  as a class action, appoint Plaintiff as the representative of the class, and appoint

                  Plaintiff s counsel as counsel for the class;

        B.        That the Court award fair and reasonable damages to Plaintiff and the Class;

        C.        That the Court award costs of suit to Plaintiff and the Class;

        D.        That the Court award plaintiff its attorney fees and all expenses incurred in

                  preparing and prosecuting this claim; and

        E.        Awarding such further relief as the Court may deem just and proper.


                             COUNT III
    MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                             Chapter 407

        61.       Plaintiff incorporates Paragraphs 3 and 4, and 11 — 15, 21-25, and27 — 32 as for its

paragraph 61.

       62.      In accordance with Chapter 407, Plaintiff, on behalf of the following class of

persons, bring Count III for Defendant's unfair practice of sending unsolicited and unlawful fax

advertisements:

                All persons who on or after four years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendant with respect
                to whom Defendant cannot provide evidence of prior express permission or
                invitation.




                                                   14
      Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 20 of 23 PageID #: 27




         65.    A class action is an appropriate method for adjudicating this controversy fairly and

 efficiently. The interest of the individual class members in individually controlling the prosecution

 of separate claims is small and individual actions are not economically feasible.

        66.     Defendant's unsolicited fax practice is an unfair practice, because it violates public

policy, and because it forced Plaintiff and the other class members to incur expense without any

consideration in return. Defendant's practice effectively forced Plaintiff and the other class

members to pay for Defendant's advertising campaign.

        67.     Defendant violated the unfairness predicate of the Act by engaging in an

unscrupulous business practice and by violating Missouri public policy, which public policy

violations in the aggregate caused substantial injury to hundreds of persons.

        68.    Defendant's misconduct caused damages to Plaintiff and the other members of the

class, including the loss of paper, toner, ink, use of their facsimile machines, and use of their

employees' time.

        69.    Defendant's actions caused damages to Plaintiff and the other class members

because their receipt of Defendant's unsolicited faxes caused them to lose paper and toner

consumed as a result. Defendant's actions prevented Plaintiff s fax machine from being used for

Plaintiff s business purposes during the time Defendant was using Plaintiffs fax machine for

Defendant's unlawful purpose. Defendant's actions also cost Plaintiff employee time, as

Plaintiff s employees used their time receiving, routing, and reviewing Defendant's unlawful faxes

and that time otherwise would have been spent on Plaintiff s business activities.




                                                16
    Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 21 of 23 PageID #: 28




                                             PRAYER

       WHEREFORE, Plaintiff, MICHAEL R. NACK, individually and on behalf of all others

similarly situated, demand judgment in its favor and against Defendant, REED ELSEVIER, INC.,

as follows:

       A.     That the Court adjudge and decree that the present case may be properly maintained

              as a class action for Count I, Count II and Count III, appoint Plaintiff as the class

              representative, and appoint Plaintiff s counsel as counsel for the class;

       B.     That the Court award damages to Plaintiff and the other class members;

       C.     That the Court award treble damages to Plaintiff and the other class members for

              knowing violations of the TCPA;

       D.     That the Court declare that Defendant's conduct violated the TCPA and that this

              action is just and proper;

       E.     That the Court award damages for conversion of the plaintiffs and the class for

              violation of their rights;

       F.     That the Court award damages and attorney fees for violation of Chapter 407;

       G.     That the Court award attorney fees and costs;

       H.     That the Court award all expenses incurred in preparing and prosecuting these

              claims;

      I.      That the Court enter an injunction prohibiting Defendant from sending faxed

              advertisements; and

      J.      Awarding such further relief as the Court may deem just and proper.




                                               17
    Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 22 of 23 PageID #: 29




       Respectfully submitted,
                                            ete,



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     Case: 4:12-cv-00780-AGF Doc. #: 1-1 Filed: 05/02/12 Page: 23 of 23 PageID #: 30
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